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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 AMBER PAYNE,

                Plaintiff,
                                                  Case No. 1:24-cv-814
 v.
                                                  Hon. Hala Y. Jarbou
 WESTERN MICHIGAN UNIVERSITY,

                Defendant.
                                       /

                     FIRST AMENDED CASE MANAGEMENT ORDER

        IT IS ORDERED:

Trial                                                  Date:                 APRIL 6, 2026
                                                       Time:                       9:00 AM
                                                      Before:    Chief Judge Hala Y. Jarbou
Counsel and the parties shall be present in the                                Lansing, MI
courtroom at 8:30 a.m. to address preliminary matters
Jury or Non-Jury                                                                            Jury
Estimated Length of Trial                                                                 7 days
Motions or Stipulations to Join Parties or Amend Pleadings                    BY MOTION OR
                                                                               STIPULATION
Rule 26(a)(1) Disclosures (including lay witnesses)                      NOVEMBER 27, 2024
Disclose Name, Address, Area of Expertise and  Plaintiff:                      MARCH 7, 2025
a short summary of expected testimony of      Defendant:                       APRIL 21, 2025
Expert Witnesses (Rule 26(a)(2)(A))
Disclosure of Expert Reports (Rule 26(a)(2)(B))    Plaintiff:                   APRIL 21, 2025
                                                  Defendant:                     MAY 21, 2025
Completion of Discovery                                                           JULY 4, 2025
Dispositive Motions                                                          AUGUST 18, 2025
Interrogatories will be limited to:                                      25 single part questions
Depositions will be limited to:                                                     10 per party
(Fact Witnesses Per Party)
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Requests for Admission will be limited to:                                              10 per side
Motions in Limine                                                              21 days prior to the
                                                                         Final Pretrial Conference
Settlement Conference                                  Date:                FEBRUARY 4, 2026
                                                       Time:                            1:30 PM
                                                      Before:          Magistrate Judge Ray Kent
Final Pretrial Conference                              Date:                     MARCH 3, 2026
                                                       Time:                           10:30 AM
Note Preparation Details within this Order            Before:          Chief Judge Hala Y. Jarbou
ADR To Take Place On Or Before:                                                 AUGUST 4, 2025

1.     TRIAL DATE AND SETTING: This case is scheduled for trial, as set forth above, before
       the Honorable Hala Y. Jarbou, 128 Federal Building, 315 W Allegan St, Lansing,
       Michigan.

2.     JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: As it appears there
       may not be a need to join parties or amend the pleadings, a motion or stipulation for leave
       of Court will be required should a party wish to join parties or amend pleadings.

3.     DISCLOSURES AND EXCHANGES: Deadlines for exchange of Rule 26(a)(1)
       disclosures, names of lay witnesses, identification of experts, and disclosure of expert
       reports under Rule 26(a)(2), if applicable, are ordered as set forth in the table above.

4.     DISCOVERY: All discovery proceedings shall be completed no later than the date set forth
       in the table above, and shall not continue beyond this date. All interrogatories, requests for
       admissions, and other written discovery requests must be served no later than thirty days
       before the close of discovery. All depositions must by completed before the close of
       discovery. Interrogatories will be limited as set forth in the table above. Depositions will
       be limited as set forth in the table above. There shall be no deviations from this order
       without prior approval of the court upon good cause shown. Time limitations for
       depositions set forth in Rule 30(d)(1) apply to this case.

5.     MOTIONS:

       a.     Non-dispositive motions shall be filed in accordance with W.D. Mich. LCivR. 7.3.
              They may be referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(A).
              In accordance with 28 U.S.C. § 471, et seq., it is the policy of this Court to prohibit
              the consideration of discovery motions unless accompanied by a certification that
              the moving party has made a reasonable and good faith effort to reach agreement
              with opposing counsel on the matters set forth in the motion.

       b.     If the dispositive motion is based on depositions, the Court prefers that parties file
              the entire deposition transcript with the relevant portions highlighted.
              Alternatively, a party may file only those excerpts that are relevant to the motion.

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                If the dispositive motion references answers to interrogatories as a supporting
                document, then only those excerpts that are relevant to the motion shall be filed.
                Oral argument may be requested pursuant to W.D. Mich. LCivR 7.2(d). The Court
                may schedule oral argument or may, in its discretion, dispose of the motion without
                argument at the end of the briefing schedule.

        c.      Counsel must confer in good faith to resolve the disputed motions in limine before
                the filing. Motions in limine must be filed no later than twenty-one (21) days prior
                to the final pretrial conference. The Court will not entertain additional motions in
                limine or deposition designations unless good cause is shown.

6.      ALTERNATIVE DISPUTE RESOLUTION: In the interest of facilitating prompt
        resolution of this case, and the parties having voluntarily selected facilitative mediation,
        this matter shall be submitted to facilitative mediation. The parties have fourteen (14) days
        from the date of this Order to jointly choose one mediator from the list of court certified
        mediators.1 Plaintiff is responsible for e-filing notification of the name of the selected
        mediator. If the parties are unable to jointly select a mediator, they must notify the ADR
        Administrator2, who will select a mediator for them. Once the mediator is selected, a
        Notice will issue regarding the method and schedule for the mediation conference.

7.      SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage
        in good faith settlement negotiations. A settlement conference has been scheduled before
        the magistrate judge as set forth above.

        a.      Persons Required to Attend. Unless excused after a showing of good cause, the
                attorney who is to conduct the trial shall attend the settlement conference,
                accompanied by a representative of the party with full settlement authority. The
                person with settlement authority must come with authority to accept, without
                further contact with another person, the settlement demand of the opposing party.
                In addition, where a party is insured, a representative of the insurer who is
                authorized to negotiate and to settle the matter (within policy limits) up to the
                amount of the opposing parties’ existing settlement demand shall also attend. All
                participants shall be present in person unless specifically excused by written motion
                and order (or otherwise directed by the Court. W.D. Mich. LCivR 16.6).

        b.      Settlement Letter to Opposing Party. A settlement conference is more likely to be
                productive if, before the conference, the parties have had a written exchange of
                their settlement proposals. Accordingly, at least fourteen (14) days prior to the
                settlement conference, plaintiff’s counsel shall submit a written itemization of
                damages and settlement demand to defendant’s counsel with a brief explanation of
                why such a settlement is appropriate. No later than seven (7) days prior to the
                settlement conference, defendant’s counsel shall submit a written offer to plaintiff’s
                counsel with a brief explanation of why such a settlement is appropriate. This may
                lead directly to a settlement. If settlement is not achieved, plaintiff’s counsel shall
1
 www.miwd.uscourts.gov
2
 ADR Administrator, U.S. District Court, 399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503;
616/456-2381; adr@miwd.uscourts.gov

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             deliver or e-mail copies of these letters to chambers no later than three (3) business
             days before the conference. Letters should be mailed, hand delivered, or e-mailed
             to kentmediation@miwd.uscourts.gov. Do not file copies of these letters in the
             Clerk’s Office.

      c.     Confidential Settlement Letter to Court. In addition, three (3) business days before
             the conference, each party or their attorney shall submit to the chambers of Judge
             Ray Kent a confidential letter concerning settlement. Letters should be mailed,
             hand delivered, or e-mailed to kentmediation@miwd.uscourts.gov. A copy of this
             letter need not be provided to any other party. Do not file a copy of this letter in
             the Clerk’s Office. All information in the settlement letter shall remain confidential
             and will not be disclosed to any other party without the approval of the writer. The
             confidential settlement letter shall set forth: (a) the name and title of the party
             representative who will be present at the settlement conference, with counsel’s
             certification that the representative will have full authority to settle, without the
             need to consult with any other party; (b) a very brief explanation of the nature of
             the case, including an identification of any parties added or dismissed since the time
             of filing; (c) a history of settlement negotiations to date, including all offers,
             demands and responses (the letter should not, however, divulge any offer made in
             the context of a voluntary facilitative mediation); (d) the policy limits of any
             relevant insurance coverage; (e) the limits on settlement authority given to counsel
             by the client; (f) that party’s suggestions concerning the most productive approach
             to settlement; (g) any other matter that counsel believes will improve the chances
             for settlement. Plaintiff shall also provide an estimated range of damages
             recoverable at trial and a brief analysis of the method(s) used for arriving at the
             estimate(s).

8.    FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date
      and time set forth above.

9.    PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order,
      entitled “Final Pretrial Order” shall be prepared jointly by counsel and filed five (5)
      business days prior to the final pretrial conference in the following form:

             A final pretrial conference was held on the ___ day of ______________.
             Appearing for the parties as counsel were:

                    (List the counsel who will attend the pretrial conference.)

             1.     Exhibits: The following exhibits will be offered by the plaintiff and the
                    defendant:

                    (List separately for each party all exhibits, including demonstrative
                    evidence and summaries of other evidence, by name and number. Plaintiff
                    shall use numbers; defendant shall use letters. Indicate with respect to each
                    exhibit whether and for what reason its admissibility is challenged. Exhibits
                    expected to be used solely for impeachment purposes need not be numbered

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                  or listed until identified at trial. Failure to list an exhibit required to be listed
                  by this order will result, except upon a showing of good cause, in a
                  determination of non-admissibility at trial. Objections not contained in the
                  Pretrial Order, other than objections under Evidence Rule 402 or 403, shall
                  be deemed waived except for good cause shown. See Fed. R. Civ. P.
                  26(a)(3)(B).)

            2.    Uncontroverted Facts: The parties have agreed that the following may be
                  accepted as established facts:

                  (State in detail all uncontroverted facts.)

            3.    Controverted Facts and Unresolved Issues: The factual issues remaining to
                  be determined and issues of law for the Court’s determination are:

                  (Set out each issue which is genuinely controverted, including issues on the
                  merits and other matters which should be drawn to the Court’s attention.)

            4.    Witnesses:

                  a.      Non-expert witnesses to be called by the plaintiff and defendant,
                          except those who may be called for impeachment purposes only,
                          are:

                          (List names, addresses, and telephone numbers of all non-experts
                          who will testify. Indicate whether they are expected to testify in
                          person, by deposition videotape, or by reading of their deposition
                          transcript. Indicate all objections to the anticipated testimony of
                          each non-expert witness. For each witness listed, indicate whether
                          the witness will be called or merely may be called to testify.)

                  b.      Expert witnesses to be called by the plaintiff and defendant, except
                          those who may be called for impeachment purposes only, are:

                          (List names, addresses, and telephone numbers of all experts who
                          will testify, providing a brief summary of their qualifications and a
                          statement of the scientific or medical field(s) in which they are
                          offered as experts. Indicate whether they will testify in person, by
                          deposition videotape, or by reading of their deposition transcript.
                          Indicate all objections to the qualifications or anticipated testimony
                          of each expert witness.)

                          It is understood that, except upon a showing of good cause, no
                          witness whose name and address does not appear in the lists required
                          by subsections (a) and (b) will be permitted to testify for any
                          purpose, except impeachment, if the opposing party objects. Any
                          objection to the use of a deposition under Fed. R. Civ. P. 32(a) not


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                              reflected in the Pretrial Order shall be deemed waived, except for
                              good cause shown.

               5.     Depositions and Other Discovery Documents:

                      All depositions, answers to written interrogatories, and requests for
                      admissions, or portions thereof, that are expected to be offered in evidence
                      by the plaintiff and the defendant are:

                      (Designate portions of depositions by page and line number. Designate
                      answers to interrogatories and requests for admissions by answer or request
                      number. Designation need not be made of portions that may be used, if at
                      all, as impeachment of an adverse party. Indicate any objections to
                      proposed deposition testimony, answers to interrogatories, and admissions.)

               6.     Length of Trial: Counsel estimate the trial will last approximately _____
                      full days, allocated as follows: _____ days for plaintiff’s case; _____ days
                      for defendant’s case; _____ days for other parties.

               7.     Prospects of Settlement: The status of settlement negotiations is:

                      (Indicate progress toward settlement and issues that are obstacles to
                      settlement.)

       The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and
upon approval by the Court, with such additions as are necessary, will be signed by the Court as
an order reflecting the final pretrial conference.

10.    MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the
       final pretrial conference, the parties and the Court will formulate a plan for trial, including
       a program for facilitating the admission of evidence, consider the prospects of settlement,
       and consider such other matters as may aid in the trial or other disposition of the action.
       Unless excused by the court in advance upon a showing of a good cause, the attorney who
       is to conduct the trial shall attend the final pretrial conference and shall be accompanied by
       the individual parties or representative of the party (other than the attorney himself or
       herself) with full settlement authority.

       Three (3) business days prior to the final pretrial conference, exhibit books shall be
       submitted to the Court. Exhibits shall be clearly identified. Counsel for the parties shall
       provide three (3) sets of notebooks with the exhibits to the Court. The exhibits should be
       divided and tabbed with the exhibit numbers. A list of the exhibits (Attachment, Exhibit
       1) should be located in the front of the notebooks. One set of notebooks is for the Court,
       one set is for the court reporter, and one set is for the use of the witnesses. When bringing
       a document to the attention of the Court and witnesses, counsel asking the questions should
       refer to the notebook volume and exhibit number.

       Counsel shall arrange to have all documentary exhibits digitized for projection on the large
       screen in the courtroom. Counsel are responsible for projection of the exhibits using their

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         own computers and software compatible with the Court’s electronic system. Scheduling
         and questions concerning the use of electronic projection is accomplished by sending an
         email to courttech@miwd.uscourts.gov, or by calling (616) 732-2757. Information
         concerning the features of the electronic evidence projection in the courtroom is available
         at the court’s website: www.miwd.uscourts.gov (Click on Courtroom Technology link).

11.      PREPARATION FOR TRIAL:

         A.       Each party shall file the following not later than five (5) business days prior to the
                  commencement of the final pretrial conference:

                  i.       Proposed voir dire questions. The Court will ask basic voir dire questions.
                           Counsel for the parties will be permitted to question prospective jurors.
                           Questioning by counsel shall not be repetitive of questions asked by the
                           Court or of questions asked in the juror questionnaire.

                  ii.      Trial briefs.

          B.      The parties shall jointly file the following not later than five (5) business days prior
                  to the final pretrial conference:

                  i.       Proposed jury instructions. This court uses Western District of Michigan’s
                           Standardized Jury Instructions for the preliminary and final instructions. A
                           copy of these instructions is available on the Court’s website
                           (www.miwd.uscourts.gov).3 The court generally uses O’Malley, Grenig, &
                           Lee’s Federal Jury Practice and Instructions for those not covered in the
                           standard set. Standard instructions shall be submitted in the following form:
                           full text, one instruction per page, double-spaced, completely typed out with
                           all blanks completed, ready for submission to the jury. Other non-standard
                           instructions shall be submitted in similar fashion and include reference to
                           the source of each requested instruction. Indicate objections, if any, to
                           opposing counsel’s proposed instructions, with a summary of the reasons
                           for each objection.

                           The parties are required to submit a copy of the joint proposed jury
                           instructions (without attorney information), and joint proposed verdict
                           form(s) compatible with Microsoft Word by e-mail to the undersigned’s
                           Case Manager, Brianna Sauve, at Jarbou_Chambers@miwd.uscourts.gov.

                  ii.      A joint statement of the case and statement of the elements that must be
                           proven by each party. If the parties are unable to agree on the language of
                           a joint statement of the case, then separate, concise, non-argumentative
                           statements shall be filed. The statement(s) of the case will be read to the


3
 The instructions are located within the Electronic Filing section, and you will need to use your E-Filing Login and
Password to access them. Once you have logged into the electronic filing section of the website, click Utilities, then
select WDMI Attorney References and you will see the link to the Standard Civil Jury Instructions.

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                    prospective jurors during jury selection. The elements that must be proven
                    by each party will be included in the preliminary jury instructions.




 Dated: March 28, 2025                        /s/ Hala Y. Jarbou
                                              HALA Y. JARBOU
                                              CHIEF UNITED STATES DISTRICT JUDGE




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                             ATTACHMENT – EXHIBIT 1

  Exhibit                                Offered                Date      Date
                   Description                     Objection
 No./Letter                                By                  Offered   Received




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